 8:16-cr-00252-RFR-MDN           Doc # 42   Filed: 02/17/17   Page 1 of 3 - Page ID # 93




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                                 8:16CR252

      vs.                                                  AMENDED
                                                 ORDER ON SENTENCING SCHEDULE
MANUEL CEBALLOS QUIROZ,

                    Defendant.

      The defendant has filed a Motion to Continue [41] the deadlines in the Order on
Sentencing Schedule [24]. Good cause shown, the motion will be granted and the
sentencing order will be modified as follows:

      IT IS ORDERED that the following deadlines and procedures are set in this case:

4.    March 9, 2017: Objections by counsel to the initial presentence report;

5.    March 17, 2017: Probation office's submission to the judge and counsel of initial
      or revised presentence report with changes, if any, responsive to counsels’
      objections, and, if needed, an addendum explaining the probation officer’s
      position regarding any objections to the presentence report previously submitted
      by counsel;

6.    March 24, 2017:
           (a) Any proposals to the probation office for community service,
           community confinement, intermittent confinement or home detention;

             (b) Motions to the court:
                   (1) for departure under the guidelines (including, but not limited to,
                   motions by the government) ; and
                   (2) for deviation or variance from the guidelines as allowed by the
                   Supreme Court’s decision in United States v. Booker, 125 S. Ct.
                   738 (2005) or its progeny;

             (c) Counsel's filing and serving on all other parties and the probation
             officer a written statement of position respecting each of the unresolved
             objections to the presentence report, including the specific nature of each
             objection to the presentence report.

             (d) If evidence is to be offered in support of or in opposition to a motion
             under subparagraph (b) of this paragraph or in support of or in opposition
             to an objection under subparagraph (c) of this paragraph 6, it must be: by
 8:16-cr-00252-RFR-MDN       Doc # 42     Filed: 02/17/17     Page 2 of 3 - Page ID # 94




            affidavit, letter, report or other document attached to the statement of
            position or by oral testimony at the sentencing hearing. If oral testimony
            is desired, a request must be made in the statement of position and the
            statement of position must reveal (1) the nature of the expected testimony,
            (2) the necessity for oral testimony, instead of documentary evidence,
            such as affidavits, (3) the identity of each proposed witness, and (4) the
            length of time anticipated for presentation of the direct examination of the
            witness or witnesses. If a request for oral or documentary evidence is
            made by one party but not by the adverse party, the adverse party within
            five working days thereafter may make a responsive request for oral or
            documentary evidence, setting out details in the same manner as required
            by this paragraph 6(d).

            (e) Motions for departure should be supported by a brief that explains
            why the departure from the guideline sentencing range is justified by
            normal guideline departure theory. Motions for deviation or variance
            from the guidelines as allowed under Booker or its progeny should be
            supported by a brief that explains why a sentence other than that called
            for under the guidelines is justified by a principle of law that is different in
            kind or degree from the normal principles of law applied under a strict
            application of the guidelines.

            (f) It is expected that any objection first raised in a party’s statement of
            position will be addressed at the judge’s discretion, and that no
            consideration will be given to any sentencing factor first raised after the
            filing of the written statement.

7.   March 31, 2017: Judge's notice to counsel of rulings, tentative findings, whether
     oral testimony is to be permitted, and how objections to tentative findings may be
     made; and

8.   The following procedures shall apply to objections to tentative findings:

            (a) A written objection to tentative findings is not required if no evidence
            will be offered in support of the objection to tentative findings and no new
            substantial issue of law will be raised in support of an objection to tentative
            findings. In such a case, an oral objection to the tentative findings may
            be made at the time of sentencing.

            (b) A written objection to tentative findings is required if evidence will be
            offered in support of the objection to the tentative findings or if a new
            substantial issue of law is raised in support of the objection to the tentative
            findings. If evidence will be offered in support of the written objection to
            the tentative findings, the written objection shall include a statement
            describing why an evidentiary hearing is required, what evidence will be
            presented, and how long such a hearing would take. If a new substantial
 8:16-cr-00252-RFR-MDN       Doc # 42     Filed: 02/17/17    Page 3 of 3 - Page ID # 95




             issue of law is raised in support of the written objection to tentative
             findings, such an objection shall be supported by a brief. Unless the court
             orders otherwise, a written objection to the tentative findings will be
             resolved at sentencing in such manner as the court deems appropriate.

             (c) Any written objection to tentative findings shall be filed no later than
             five business days prior to the date set for sentencing. If that is not
             possible due to the lack of time between the issuance of tentative findings
             and the sentencing hearing, the written objection shall be filed as soon as
             possible but not later than one business day prior to sentencing.


9.    April 7, 2017 at 9:00 a.m.: Sentencing before Judge Rossiter in Courtroom #4.

       A probation officer must submit a sentencing recommendation to the sentencing
judge no later than seven days before the sentencing hearing. The probation officer is
directed to provide copies of any sentencing recommendation to counsel for the
government and counsel for the defendant at the time the recommendation is submitted
to the sentencing judge.

      The dates in paragraphs 3 and 4 of this order may be altered by written notice to
counsel and the judge by the probation office.

      DATED this 17th day of February, 2017.

                                         BY THE COURT:

                                         s/ Robert F. Rossiter, Jr.
                                         United States District Judge
